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     Attorney for Plaintiff
 5

 6                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
 7

 8
      REPUBLICAN NATIONAL COMMITTEE,
      NEVADA REPUBLICAN PARTY, and SCOTT
 9    JOHNSTON,                                                      No. 2:24-cv-00518-CDS-MDC
10                           Plaintiffs,
             v.
11                                                                   MOTION TO
      FRANCISCO AGUILAR, in his official capacity as                 WITHDRAW AND
12    Nevada Secretary of State; LORENA PORTILLO, in                 PROPSED ORDER
13
      her official capacity as the Registrar of Voters for Clark
      County; WILLIAM “SCOTT” HOEN, AMY
14    BURGANS, STACI LINDBERG, and JIM
      HINDLE, in their official capacities as County Clerks,
15
                             Defendants.
16

17         PLAINTIFF’S COUNSEL’S MOTION TO WITHDRAW AS COUNSEL FOR
                                   PLAINTIFF
18
            The undersigned counsel hereby moves to Withdraw as Counsel for Plaintiff NEVADA
19
     REPUBLICAN PARTY. This motion is made and based upon the Memorandum of Points and
20
     Authorities submitted herein, the Declaration of Sigal Chattah, Esq., attached hereto, the
21

22   pleadings and papers on file and any argument adduced at the hearing of this Motion to

23   Withdraw as Counsel for Plaintiff.

24

25




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 1
                          MEMORANDUM OF POINTS AND AUTHORITIES
 2

 3     On March 27, 2025, undersigned Counsel received an appointment to serve as Interim United

 4   States Attorney by United States Attorney General Pam Bondi and President of the United States

 5                                             Donald J. Trump.

 6          Local Rule IA 11-06 (a) allows for an attorney to withdraw with leave of court after
 7   notice of the intent to withdraw is served. Counsel has notified Plaintiff that she is withdrawing
 8
     from representing her client, Plaintiff, and is seeking withdrawal by motion.
 9
            Local Rule IA 11-06 (e) provides that, except for good cause, withdrawal will not be
10
     granted if a delay in discovery, the trial or any hearing will result.
11
            Plaintiff’ is in agreement that Counsel withdraw from this case. Further, Plaintiff has
12
     additional Counsel on this matter, to wit; Jeffrey F. Barr, Esq. along with Pro Hac Counsel,
13
     Conor D. Woodfin, Esq. and will not be affected by this withdrawal. All pending litigation will
14
     proceed in ordinary course with Co-Counsel as planned.
15

16          Attached is the Declaration of Counsel setting forth that in her belief it is in the best

17   interests of Counsel and Plaintiff that Counsel’s motion be granted.

18   Dated this __31st day of March, 2025.

19
                                                            CHATTAH LAW GROUP
20

21                                                          /s/ Sigal Chattah _______________
                                                            SIGAL CHATTAH, ESQ.
22
                                                            Nevada Bar No. 6264
23                                                          5875 S. Rainbow Blvd., #204
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